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    ORIGINAL PAPER



Rapid Onset Gender Dysphoria: Parent Reports on 1655 Possible Cases
Suzanna Diaz1 · J. Michael Bailey2

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Abstract
During the past decade there has been a dramatic increase in adolescents and young adults (AYA) complaining of gender
dysphoria. One influential if controversial explanation is that the increase reflects a socially contagious syndrome: Rapid Onset
Gender Dysphoria (ROGD). We report results from a survey of parents who contacted the website ParentsofROGDKids.com
because they believed their AYA children had ROGD. Results focused on 1655 AYA children whose gender dysphoria report-
edly began between ages 11 and 21 years, inclusive. These youths were disproportionately (75%) natal female. Natal males
had later onset (by 1.9 years) than females, and they were much less likely to have taken steps toward social gender transition
(65.7% for females versus 28.6% for males). Pre-existing mental health issues were common, and youths with these issues
were more likely than those without them to have socially and medically transitioned. Parents reported that they had often felt
pressured by clinicians to affirm their AYA child’s new gender and support their transition. According to the parents, AYA
children’s mental health deteriorated considerably after social transition. We discuss potential biases of survey responses from
this sample and conclude that there is presently no reason to believe that reports of parents who support gender transition are
more accurate than those who oppose transition. To resolve controversies regarding ROGD, it is desirable that future research
includes data provided by both pro- and anti-transition parents, as well as their gender dysphoric AYA children.

Keywords Rapid Onset Gender Dysphoria · Adolescent gender dysphoria · Gender dysphoria · Transgender


Introduction                                                                Hypothesis 1 There has not been an increase in the actual
                                                                            number of gender dysphoric adolescents, but more of them
The demographics of gender dysphoria have changed dra-                      are being recognized and referred to gender clinics.
matically during the past two decades. Specifically, the pro-
portion of cases among adolescent natal females has sharply                    Those who believe this hypothesis view the increase in
increased, both absolutely and relatively (Aitken et al., 2015;             referrals to gender clinics favorably, because gender dys-
Steensma et al., 2018; Zucker, 2019). This change has been                  phoric youth are getting treatment they need rather than suf-
noted in clinic-referred samples across North America and                   fering in silence (e.g., Turban & Ehrensaft, 2018). People
Western Europe (Zucker, 2019; Zucker & Aitken, 2019).                       who hold this view also tend to support gender transition for
The causes of these changes are difficult to know. Two main                 gender dysphoric youth.
hypotheses have been proposed:
                                                                            Hypothesis 2 There has been an increase in gender dysphoria
                                                                            among adolescents, especially adolescent females.

                                                                               This hypothesis is associated with Rapid Onset Gen-
                                                                            der Dysphoria (ROGD) (Littman, 2018; Marchiano, 2017;
Suzanna Diaz is a pseudonym.                                                Shrier, 2020), a recent and controversial theory. ROGD
                                                                            theory proposes that common cultural beliefs, values, and
* J. Michael Bailey
  jm-bailey@northwestern.edu
                                                                            preoccupations cause some adolescents (especially female
                                                                            adolescents) to attribute their social problems, feelings, and
1
     Parents of ROGD Kids, New York, NY, USA                                mental health issues to gender dysphoria. That is, youth with
2
     Department of Psychology, Northwestern University, 2029                ROGD falsely believe that they are transgender, and that they
     Sheridan Rd., Evanston, IL 60208, USA


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must undergo social and medical gender transition to resolve      scientific studies (Bauer et al., 2022; but see Littman, 2022).
their issues. A sharp increase in such false beliefs among        Careful empirical study is sorely needed.
adolescents and young adults has led to the recent “epidemic”         Parents who disagree with the concept of ROGD and who
in ROGD.                                                          believe that their children are gender dysphoric in the con-
    ROGD is believed to be a culture-bound syndrome, which        ventional sense (i.e., having a strong feeling of incongruence
did not exist until recently, when transgender issues began to    between their physical body and the gender they identify
attract considerable cultural attention (Allen, 2015). Further-   with) have also played an important role in the controversy.
more, ROGD has been hypothesized to be socially contagious        Until recently it was rare for parents to acquiesce to their
(Littman, 2018). Adolescents who know others with ROGD            children’s wish to transition, but this has been changing. Par-
are more likely to acquire ROGD themselves.                       ents have become much more likely to allow their gender
    Advocates of the ROGD theory view the dramatic increase       dysphoric children to socially and/or medically transition
in referrals to gender clinics with alarm. They are concerned     (see, e.g., de Graaf & Carmichael, 2019; Olson et al., 2016).
that adolescents with ROGD are at risk of unnecessary, harm-      For example, minor children may be given puberty-delaying
ful, and irreversible psychological and medical interventions     hormones with parents’ permission. In some cases, youth
(e.g., Marchiano, 2017; Shrier, 2020).                            years away from legal adulthood may even receive gender-
    The surge in referrals for adolescent-onset gender dyspho-    confirming surgery, such as mastectomy in natal females
ria is so recent that neither hypothesis has much support in      (Olson-Kennedy et al., 2018). Thus, parents supporting gen-
the mainstream academic literature. This is understandable        der transition have dramatically altered acceptable social,
in the early stages of research on any human clinical phenom-     psychological, and medical practice.
enon, especially one as controversial as gender dysphoria.            One relevant issue concerns the potentially differing moti-
                                                                  vations of parents who believe, and those who disbelieve, the
                                                                  idea that their gender dysphoric adolescent children have
Parents of Gender Dysphoric Youth as Influential                  ROGD. The former have been accused of being prejudiced
Stakeholders                                                      against transgender persons and other sexual minorities
                                                                  (Restar, 2020; “Why are so,” 2018). However, Littman’s
A new development in the history of gender dysphoria has          (2018) study found that most such parents held tolerant views
been the formation of Internet communities of concerned           regarding the rights of sexual minorities. An alternative
parents. These communities appear to be centered around           explanation of these parents’ endorsement of ROGD is that
the two opposing viewpoints we have described. Some of            it describes the trajectory of their children’s gender dysphoria
these communities comprise parents concerned that their           better than conventional explanations of gender dysphoria do.
AYA children have ROGD and are pursuing gender transition             ROGD has been studied primarily in adolescents and
unnecessarily. Examples include the Gender Critical Support       young adults (Littman, 2018). By definition, these youth were
Board, ParentsofROGDKids.com, and Genspect.org. Other             not gender dysphoric prior to puberty. In contrast, early-onset
communities are more supportive of gender transition for          gender dysphoria begins prior to puberty, often during early
gender dysphoric youth. These include the Facebook group,         childhood (Bailey & Blanchard, 2018; Zucker & Bradley,
Parents of Transgender Children, among others. Some of            1995). It is possible that parents of children with early-onset
these groups are quite large, with Gender Critical Support        gender dysphoria and parents of youth with ROGD have dif-
Board exceeding 3500 registered members, and Parents of           ferent preferences for their children. The current study focuses
Transgender Children exceeding 8000 members (both num-            on AYA children believed by their parents to have ROGD.
bers taken from their respective websites on April 12, 2022).
   Parents of gender dysphoric youth have had an especially       Parents of Gender Dysphoric Children as Sources
important role in the controversies regarding adolescent-         of Information
onset gender dysphoria. For example, the blogger who
writes as 4thwavenow became interested in the issue when          Research on children’s development in many domains has
her daughter “suddenly announced she was a trans man after        long depended on parent reports. Google Scholar reports
a few weeks of total immersion in YouTube transition vlogs        78,800 citations for the search term “parent reports,” as
and other trans-oriented social media” (4thwavenow.com,           of April 12, 2022. Research on gender dysphoria has also
n.d.). (Her daughter’s gender dysphoria has subsequently          often included parent reports (e.g., Arnoldussen et al., 2020;
subsided.) Littman (2018), who originated the theory of           Olson, 2016; Wallien & Cohen-Kettenis, 2008; Zucker &
ROGD, was strongly influenced by accounts of parents              Bradley, 1995). Researchers have also long acknowledged
like this (Kay, 2019). ROGD is a controversial idea and has       the imperfections—including both incomplete information
been challenged by both activists (e.g., Ashley, 2020) and        and biases—associated with parent reports (Achenbach et al.,



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1987). Parent reports are especially controversial when par-      deception. Those whose information was sufficiently detailed
ent and child reports differ dramatically, as they often do in    and credible received the following survey solicitation:
cases considered to be ROGD (Littman, 2018).
                                                                    Rapid Onset Gender Dysphoria (ROGD) is a new
   We expect that parents’ and children’s reports are more
                                                                    phenomenon that is only now beginning to be rec-
similar for families in which parents support their children’s
                                                                    ognized.
transition, although this has not been studied directly. How-
                                                                    The so-called gender clinics are not forthcoming with
ever, this does not mean that parents who support transi-
                                                                    information about demographics or mental health
tion are correct. These parents and their gender dysphoric
                                                                    issues of clients who seek out their services. Nor do
children could both be mistaken, especially if there is social
                                                                    they publish information on patient outcomes.
pressure to accept children’s claims of transgender status.
                                                                    The task is left up to us, the parents, to seek out this
The increasing number of people who have reidentified with
                                                                    information on our own.
their natal gender (detransitioners) raises questions about the
                                                                    Please help us gain a better understanding of this
desirability of transition (Littman, 2021; Marchiano, 2020).
                                                                    emotionally devastating and physically traumatizing,
   Given the recent surge of cases of gender dysphoria in
                                                                    yet increasingly common phenomenon.
adolescents and young adults whose demographic profile is
                                                                    Who Should Complete this Survey
unlike those from previous generations, it is important to seek
                                                                    If your child:
data from all sources and premature to reject any of them.
As we learn more, we may come to prefer some sources of
                                                                    • Had a relatively normal childhood without showing
information over others, but there is not yet any guide to this
                                                                        any signs of discomfort with their gender, and
preference. In the meantime, it is desirable—even urgent—to
                                                                    • Suddenly, seemingly out of the blue, decided they
collect data from all available sources.
                                                                        identified as the opposite gender, or some other
                                                                        “gender”

The Current Study                                                   Please take the time to fill out this survey. It takes
                                                                    about 10–15 min to complete, a bit longer if you write
We analyzed data from a survey of parents who contacted a           comments (which are very helpful!).
website for parents concerned that their AYA children have          *Don’t worry if the survey skips over some questions.
ROGD. Parents provided data regarding their AYA children’s          It is designed to skip over questions that do not apply
adjustment before gender dysphoria onset, children’s gender         to you.
dysphoria, and children’s social and medical transition steps.      All responses will be kept strictly confidential.
We discuss potential biases in the data due to subject self-
selection and survey framing.                                        The authors acknowledge that the framing of the survey
                                                                  is biased toward belief in, and concern about, ROGD. This
                                                                  may have influenced responses, although it is likely that a
                                                                  more important bias was self-selection due to the website’s
                                                                  name and purpose. The initial purpose of the survey was
Method                                                            not for scientific publication, but information gathering
                                                                  for a community of parents with shared concerns. In the
Participants
                                                                  Discussion, we consider which results are more or less
                                                                  likely to be biased.
Participants were parents or other caretakers of gender dys-
phoric children who contacted the website ParentsofROG-
DKids.com. This website provides information and support          Measures
to parents who believe their children may have ROGD and
who are skeptical about “affirmative” therapeutic approaches      Parent informants provided information about their gender
(i.e., those encouraging gender transition). ParentsofROG-        dysphoric children. The data analyzed herein include parents’
DKids.com did not actively recruit parents. Rather, parents       reports on the following variables: timing and early signs of
discovered the website via Internet searches or mentions on       children’s gender dysphoria; children’s mental health (includ-
Internet forums. After contacting the website, parents were       ing formal diagnoses) and social adjustment prior to the onset
asked to provide more information about their gender dys-         of gender dysphoria; and children’s steps taken toward both
phoric children, via email. This was done to ensure that those    social and medical transition. The survey can be viewed in
engaging with the website were not attempting mischievous         the supplementary materials.



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Results                                                           simply rejection of your own gender.” It then listed several
                                                                  “signs of gender dysphoria,” focusing on displaying cross-sex
Survey Respondents                                                behavior (e.g., “changing your posture or way of moving”).
                                                                  Respondents were asked to estimate when their child “began
Participants of the current study completed surveys from          to exhibit signs of gender dysphoria.” On average, the youths
December 1, 2017 (the beginning of the survey), through           were reported to be 14.8 years (SD = 3.1) when they became
October 22, 2021, a total of 46 months. In total 1774             gender dysphoric. Onset ages ranged from 3 to “greater than
responses were received. (The number of potential partici-        25 years,” with a median of 14 years.
pants who contacted the website was not recorded.)                    Because ROGD is hypothesized to begin during puberty
    The large majority of survey respondents (N = 1496;           through early adulthood (Littman, 2018), we limited subse-
84.3%) were mothers reporting on their own children. Fathers      quent analyses to parent reports on youths whose gender dys-
(N = 223) comprised 12.6% of the respondents, and persons         phoria was reported to begin between ages 11 and 21, inclu-
with some other relationship to the gender dysphoric youth,       sive. This left 93.3% (N = 1,655) of the original sample, of
such as stepparent, grandparent, or adoptive parent (N = 55;      whom 75% (N = 1249) were natal females and 25% (N = 406)
3.1%), were the remaining respondents. For ease of presenta-      natal males. Mean current age of gender dysphoric youths
tion, we refer to respondents as “parents.”                       was 15.7 (SD = 2.7) years for females and 17.2 (SD = 2.7) for
    To illuminate the general political/ideological orientation   males, t(1653) = 9.9, p < 0.001, d = 0.56.
among the parents who responded, the first author examined            Figure 1 shows the distribution of age of gender dysphoria
a subset of email correspondence in which some parents            onset, separately for natal females and males. Reported onset
provided details about their gender dysphoric children and        was significantly later for natal males (M = 16.0, SD = 2.2)
family situation. Emails were chosen systematically, by tak-      than for natal females (M = 14.1, SD = 2.2), t(1653) = 15.5,
ing the first ten of every consecutive fifty. (Parents were not   p < 0.001, d = 0.84. Duration of gender dysphoria, from onset
queried to provide this information until after the project had   to the present, was briefer for the natal males (M = 1.2 years,
commenced, and so not all parents provided emails.) A total       SD = 1.6) than for the natal females (M = 1.6 years, SD = 1.6),
of 280 emails were examined for statements indicating either      t(1772) = 5.3, p < 0.001, d = 0.25.
supportive/progressive attitudes or unsupportive/conserva-
tive attitudes. Statements were coded as supportive/progres-      Demographics
sive if they indicated that parents were politically progres-
sive, including supportive of LGBT rights and people. This        Ethnic backgrounds of the youths were European (N = 1276;
included evidence that they were at least partially supportive    78.9% of those who answered this question), ethnically mixed
of their child’s gender-related choices. Emails were coded        (N = 262; 16.2%), Asian (N = 45; 2.8%), Indigenous (N = 13;
as unsupportive/conservative if they indicated that parents       0.8%), African–American (N = 10; 0.6%), Middle Eastern
were conservative or religious in ways that may not be sup-       (N = 6; 0.4%), and East Indian (N = 6, 0.4%). Although the
portive of LGBT rights or people. (Statements indicating          survey did not ask where respondents lived, it did include
either conservative or religious beliefs were not, by them-       one question regarding where the gender clinic the youth
selves, coded as the latter.) The number of coded statements      attended (if any) was located. The most common location was
indicating supportive/progressive sentiments was 70, and the      in the USA (N = 357; 74.2% of those who provided any loca-
number indicating unsupportive/conservative sentiments was        tion), followed by Canada (N = 49; 10.2%), Europe (N = 46;
5. Table 1 contains 7 examples of the supportive/progressive      9.6%), and Australia (N = 25; 5.2%). Thus, it is likely that
statements (every tenth statement starting at the first) and      most respondents were from North America.
all 5 unsupportive/conservative statements. All deidentified
coded statements are included as a supplement.                    Prior Social Adjustment

Characteristics of Gender Dysphoric Youths                        Table 2 provides several ratings of gender dysphoric youths’
                                                                  social adjustment prior to the onset of gender dysphoria.
Current Age, Age of Onset, and Duration of Gender                 Ratings were similar for natal females and males, with only
Dysphoria                                                         two showing statistically significant sex differences. Parents
                                                                  reported that natal males were more likely to have been bul-
The survey included the following description of gender           lied and less likely to have had many good friends.
dysphoria: “feeling unhappy or uncomfortable with your               Informants rated the relationships between the youths and
gender. It can include wishing to be the opposite gender,         their mothers and fathers both prior to gender dysphoria onset,
or to be a different ‘gender’ altogether. It can also include     and after social transition (if any), on a 6-point scale from 1



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Table 1  Example statements by participants indicating either supportive/progressive attitudes or unsupportive/conservative attitudes

Supportive/progressive statements
1             Mother & partner are a same-sex couple
2             We knew nothing about this (ROGD) up until my son told us he was transgender. We were initially of course entirely loving and
                supportive of him
3             Any discussion of her sex, sexuality or any ‘gender issues’ resulted in verbal and physical abuse. She has accused us all of homo-
                phobia, transphobia and assorted other bigotry. To be honest I would love her to declare she is a lesbian and move on
4             The LBGQT community's influence is very strong and their support seems to have no end. I myself am a supporter and have
                friends in the community, but this has nothing to do with them and is none of their business. It’s about me doing what is best for
                my child
5             At [age deleted] she told us she was gay. I didn't freak out, I really don't care if she's gay. Then last year she asked me to take her
                to the Pride festival. I wanted to be supportive so I took her
6             One of my husband’s good friends is transgender…My husband having a personal experience with a transgender friend, helped
                her to realize that we weren’t bigots when we said we were not going to affirm her friend’s choice of pronouns
7             My brother came out as gay…. My mom, who worked in [deleted occupation], knows a lot about sexuality. She thinks it is a
                harmless sexual kink for many men to be treated like a woman, but it does not really mean he is uncomfortable being a man; he
                just wants to be desired and loved for a specific time like he thinks a woman is desired and loved
Unsupportive/conservative statements
8             Children who "think" that they can just turn themselves into something that is impossible and wrong. God created male and
                female and no matter what a so-called medical person thinks they can modify they cannot change the DNA it is still male and
                female not the opposite. We need someone who is conservative, maybe faith-based, someone who can help my son figure out
                why he is depressed and what is going on inside his head someone who can help us
9             I am not against the LGBTQ but don't believe it’s God's best for people. My husband is more adamantly opposed. So far I haven't
                done much other than tell her I love her no matter what & absolutely nothing will change that
10            Are there professionals who can work with our daughter to guide her back to an authentic biblical faith instead of her brand of
                “Christianity” which includes [details deleted], trans support, and a love of alternative lifestyles…She sees a weekly Christian
                therapist that uses standard therapy CBT techniques but never challenges her disordered gender/sexuality thinking
11            We raised our kids in the faith to have love and respect for the dignity of all people, not just those whose decisions and ideas we
                agree with.… We are being called homophobic, transphobic, violent, abusive and bigoted by our daughter, her friends, our
                former friends, and …family. We were given no chance to defend ourselves from any of these accusations
12            I struggle constantly with how to show love to someone who shows complete disdain for everything that has been dear to my heart
                from my faith to my country and my traditions



                                                                                   (estranged) to 6 (extremely close). Pre-dysphoria relationships
                                                                                   with mothers had a mean rating of 5.2 (with 5 representing
                                                                       Natal Sex   “fairly close” and 6 representing “very close”), and relation-
                    20%
                                                                         Female    ships with fathers a mean of 4.6 (with 4 representing “neutral”).
                                                                         Male      For a subsequent analysis of change after social transition, we
                                                                                   computed a composite score of parental relationship quality
                                                                                   by averaging mothers’ and fathers’ ratings at each time period.
                    15%
Percentage by sex




                                                                                   Mental Health History
                    10%
                                                                                   Asked whether the gender dysphoric youth have a history
                                                                                   of “mental health issues,” 57% (N = 944) of informants
                                                                                   responded affirmatively, 42.5% (N = 703) negatively, and
                    5%
                                                                                   0.4% (N = 8) did not respond. The percentage of affirma-
                                                                                   tive responses was slightly higher for natal females (59.4%)
                                                                                   than for natal males (51%), χ2(1, N = 1647) = 8.7, p = 0.003.
                    0%
                          11   12   13   14   15   16   17   18   19   20   21     Figure 2 presents the distribution of the onset of children’s
                                    Age of onset: gender dysphoria                 mental health issues relative to the onset of their gender
                                                                                   dysphoria. On average, mental health problems began at
Fig. 1  Distribution of parent reports of children’s age of onset of gen-          10.5 years (SD = 3.6; Mdn = 11) and preceded gender dys-
der dysphoria (in years), separately for natal females and males                   phoria by 3.8 years, paired t(940) = 32.0, p < 0.0001, d = 1.31.



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Table 2  Parent reports of children’s social adjustment prior to gender   games (more common in natal males). In contrast, addiction
dysphoria                                                                 to the Internet did not produce a significant sex difference.
                                            Natal      Natal male (%)         Asked whether the youth had ever received “a formal
                                            female                        psychological diagnosis,” 42.5% (N = 703) of informants
                                            (%)                           said “yes.” Responses to this question were highly corre-
Youth had a few good friends                56.7       57.6               lated with responses to the previously mentioned question
Youth got along with other kids             33.9       33.7               whether the gender dysphoric youth had a history of mental
Youth was b­ ullieda                        26.3       33.3               illness, r(1653) = 0.74. (For some later analyses, a variable
Youth was well liked                        27.3       22.7               was constructed by summing the dichotomous responses
Youth had one good friend                   17.4       15.8               to both items. The summed composite should have greater
Youth was not well liked by peers           14.3       16.8               reliability than either of its component items. We refer to
Youth had many good ­friendsa                9.9        3.9               the composite as “mental health issues,” and higher scores
Others instigated fights/arguments with      4.7        5.4               indicated more problems with mental health.) The percent-
 youth                                                                    age of youths with formal diagnoses was similar for natal
Youth instigated fights                      2.3        3.2               females, 43.4% (N = 542) and natal males, 39.7% (N = 161),
Youth bullied others                         2.2        0.7               χ2(1, N = 1665) = 1.75, p = 0.19. Furthermore, older youths
                                                                          were slightly more likely to have diagnoses, with the correla-
Descriptors were not mutually exclusive. Numbers represent the per-
centages of parents endorsing each descriptor                             tion between current age and diagnostic status r(1653) = 0.07,
a
    Significant sex difference, p < 0.01
                                                                          p = 0.006. Diagnoses had been provided mainly by psychia-
                                                                          trists (41.6%; N = 294) and psychologists (30.0%; N = 212).
                                                                          Table 4 provides the frequencies of specific diagnoses that
                                                                          were queried, separately by natal sex. Youths with formal
                                                                          diagnoses averaged 2.2 diagnoses (SD = 1.1). This variable
                                                                          did not differ significantly by sex.
                                                                              Asked whether any stressful events in their AYA child’s
                                                                          life may have contributed to the onset of gender dysphoria,
                                                                          72.6% (N = 1,161) of parents said “yes.” Inspection of spe-
                                                                          cific responses suggested that these stressful events varied
                                                                          considerably in both their nature and severity. For example,
                                                                          a number of parents noted that the family had moved recently.
                                                                          Others mentioned the youth’s romantic difficulties. But a few
                                                                          said that the youth had suffered severe physical or sexual
                                                                          abuse, and several mentioned that a friend or relative had
                                                                          committed suicide. Respondents rated youths with these
                                                                          experiences higher on the composite variable mental health
                                                                          issues, compared with other youths, t(1597) = 3.9, p < 0.001,
                                                                          d = 0.22.

Fig. 2  Parent reports of relative timing of gender dysphoria and men-    Intelligence
tal health issues, in units of years. Negative numbers indicate that
mental health issues preceded gender dysphoria, and positive num-         Informants rated the youths’ intelligence using a 5-point
bers indicate that gender dysphoria preceded mental health issues
                                                                          scale from 1 (exceptionally low–mentally handicapped) to
                                                                          5 (exceptionally high intelligence). In general, ratings were
                                                                          high, with only 15.5% (N = 255) of youths rated as average or
   Informants were asked about several possible “first symp-              below average, and 35.6% (N = 587) rated as having excep-
toms” of mental health issues. Table 3 provides the frequency             tionally high intelligence. Natal males (M = 4.38) were rated
of each initial symptom, separately by natal sex. More fre-               slightly higher than natal females (M = 4.13), t(1645) = 6.1,
quent responses, averaged across natal sex, are higher in the             p < 0.0001, d = 0.36.
table. The most common problem mentioned was “anxiety,”
and this was significantly more common among natal females                Social and Medical Transition
than among natal males. Other problems producing relatively
large and significant sex differences included self-injury                Asked whether their gender dysphoric AYA child had “come
(more common in natal females) and addiction to video                     out” as the “opposite gender or some other gender,” 89.3%


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Table 3  Parent reports of gender dysphoric children’s earliest mental health symptoms
Symptom                                                       Natal female      Natal male (%)          Test of sex differ-     Probability for test
                                                              (%)                                       ence (χ2)               of sex difference

Depression                                                    33.2              25.1                     9.4                        0.002
Anxiety                                                       47.3              35.2                    18.2                      < 0.0001
Self-harm                                                     19.9               6.9                    37.4                      < 0.0001
Defiant behavior (acting out)                                 10.3               8.1                     1.7                        0.20
Suicidal ideation                                             13.1               9.9                     3.0                        0.08
Attempted suicide                                              4.1               3.2                     0.6                        0.42
Difficulty socializing with peers                             26.5              28.1                     0.4                        0.53
Difficulty concentrating and completing tasks                 17.1              18.7                     0.53                       0.47
Obsessive behavior                                            11.8              14.3                     1.8                        0.18
Socially withdrawn                                            18.7              18.0                     0.1                        0.76
Difficulty dealing with a specific stressful event (e.g.,     10.3               5.2                     9.9                        0.002
  divorce, sexual assault)
Difficulty coping with stressful situations in general        23.2              19.2                     2.8                        0.09
Addiction to video Games                                       4.2              15.8                    63.3                      < 0.0001
Addiction to the Internet                                     17.1              13.8                     2.5                        0.11
Substance abuse                                                0.4               1.7                     7.5                        0.006
In an abusive relationship                                     1.2               0.5                     1.5                        0.22
Difficulty with dealing with homosexual feelings               4.8               1.5                     8.9                        0.003




Table 4  Parent reports of              Diagnosis                              Natal       Natal males (%)      Test of sex     Probability for test
gender dysphoric children’s                                                    females                          difference (χ2) of sex difference
formal diagnoses                                                               (%)

                                        Anxiety                                32.5        27.3                  3.8                0.051
                                        Depression                             29.1        22.7                  6.3                0.012
                                        ADHD                                   13.0        19.5                 10.4                0.001
                                        Autism                                  6.5        13.3                 19.0              < 0.0001
                                        Obsessive compulsive disorder           3.0         4.9                  3.2                0.073
                                        Borderline personality disorder         3.0         0.7                  6.4                0.011
                                        Bipolar disorder                        1.9         0.5                  4.0                0.044
                                        PTSD                                    2.8         0.5                  7.5                0.006
                                        Body dysmorphia, anorexia, bulimia      2.1         1.0                  2.1                0.150
                                        Antisocial personality disorder         0.2         0.3                  0.0                0.983
                                        Schizophrenia                           0.2         0.3                  0.1                0.722




(N = 1,458) of those who answered responded affirmatively.                   common for natal females (N = 273, 21.9%) than for natal
Of these cases, 81.6% of the youths came out as the opposite                 males (N = 48, 11.8%), χ2(1, N = 1655) = 19.7, p < 0.0001.
gender, but in 18.4% another gender was specified, such as                       The survey included questions about social transition,
“gender fluid,” “non-binary,” and “trans” or “transgender.”                  which was explained as follows:
Coming out as a different, rather than opposite, gender was                      Social transition means taking formal steps to live as the oppo-
more common among natal females (N = 235; 20.9%) than                        site gender (or some other gender) officially. This can include:
among natal males (N = 31; 9.8%), χ2(1, N = 1442) = 20.3,
                                                                                legally changing their name, gender, and pronouns on
p < 0.0001. Of youths who had “come out,” 22% (N = 321)
                                                                                government ID, expecting everyone to refer to them
were out “everywhere.” Being out everywhere was more



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   with their new name and pronouns, constantly trying                   surgically transitioned?” Surgical transition was especially
   to “pass” as the opposite gender in manner of dress,                  rare, reported for 1% of males and 0.7% of females (the test
   posture, tone of voice, mannerisms, and interests                     of the sex difference was not significant, p = 0.604).
                                                                             Parents were also asked to rate the separate effects of social
   Social transition formalizes "coming out" as transgender,
                                                                         transition on their AYA child’s gender dysphoria, anxiety,
and the two often occur together.
                                                                         and depression. These ratings were substantially correlated
   Of 1436 youths for whom informants provided relevant
                                                                         and were averaged to provide an overall rating from 1 = much
information, 65.3% (N = 937) had socially transitioned, 33.8%
                                                                         worse to 5 = much better, with 3 indicating no change. Coeffi-
(N = 485) had not socially transitioned, and 1% (N = 14) no
                                                                         cient alpha for this 3-item scale was 0.73. Figure 3 shows the
longer wished to transition (i.e., had desisted). Mean age at
                                                                         distribution of this variable for the 556 parents who answered
social transition was reported as 15.4 years (SD = 2.6). Cur-
                                                                         all three questions. Parents were much more likely to say
rent social transition was much more common among natal
                                                                         that the youth had worsened than improved. The one-sample
females, 65.7% (N = 821) of whom were rated as socially
                                                                         t-test comparing the sample mean 2.1 with 3, the score sig-
transitioned, compared with 28.6% (N = 116) of the natal
                                                                         nifying no change, was highly significant, t(566) = − 24.6,
males, χ2(1, N = 1655) = 172.3, p < 0.0001. Furthermore,
                                                                         p < 0.0001, d = − 1.0.
natal females tended to socially transition earlier (15.1 years)
                                                                            The change in the quality of parental relationships (from
than natal males (17.4 years), t(932) = 9.1, p < 0.0001. Of
                                                                         prior to gender dysphoria to after social transition) was also
those who had desisted, 13 of 14 were natal females, out of
                                                                         strongly negative, declining from an average of 4.8 (indi-
1120 females and 316 males for whom parents provided this
                                                                         cating “fairly close”) to 3.6 (between “neutral” and “don’t
information.
                                                                         get along very well”), paired t(891) = − 32.0, p < 0.0001,
   Table 5 presents rates of several aspects of social transi-
                                                                         d = − 1.2. This decline was especially severe for mothers, a
tion, separately for natal males and females. Natal females
were substantially more likely than natal males to have taken
most of the social transition steps. Table 6 presents rates of
                                                                         Table 6  Parent reports of their children’s medical transition steps
several aspects of medical transition, separately by natal sex.
In general, steps toward medical transition were unusual. For            Medical transition steps                 Natal       Natal males (%)
                                                                                                                  females (%)
example, hormone blockers were reported for only 0.8% of
natal females and 2.0% of natal males (test of the sex differ-           Hormone blockers                         0.8            2.0
ence, χ2(1, N = 1655) = 3.9, p = 0.048). The most frequently             Any testosterone treatment               6.5            N/A
reported medical intervention was cross-sex hormones,                    Current testosterone treatment           5.0            N/A
received by 6.5% of females and 8.4% of males (the test of               Αny female hormone treatment             N/A            8.4
the sex difference was not significant, p = 0.193). Surgical             Current female hormone treatment         N/A            7.6
intervention was assessed using the question “Has your child             Any Surgical transition                  0.7            1.0




Table 5  Parent reports of their     Social transition steps                  Natal       Natal males (%)     Test of sex      Probability for
children’s social transition steps                                            females                         difference       test of sex differ-
                                                                              (%)                             (χ2)             ence

                                     Began wearing clothing of opposite sex   60.6        16.8                235.8            < 0.0001
                                     Changed hairstyle                        58.5        20.2                180.1            < 0.0001
                                     Changed pronouns, opposite sex           49.2        22.7                88.5             < 0.0001
                                     Changed posture                          30.7        12.8                50.4             < 0.0001
                                     Changed voice tone                       25.7        13.6                25.8             < 0.0001
                                     Transgender friends of same natal sex    22.4        4.7                 65.1             < 0.0001
                                     Changed pronouns, non-binary             18.0        5.9                 35.1             < 0.0001
                                     Changed sex-typed activities             7.9         5.7                 2.3              0.143
                                     Opposite sex friends                     6.7         5.4                 0.9              0.350
                                     Legal name change                        3.2         4.9                 2.6              0.107
                                     Use of makeup                            0.9         12.6                115.9            < 0.0001
                                     Breast binding                           76.8        N/A                 N/A              N/A
                                     Penis tucking                            N/A         17.1                N/A              N/A
                                     Bra stuffing                             N/A         8.9                 N/A              N/A



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                                                                              we explored. Univariate tests are for the associations between
                                                                              each single correlate and current social transition. (These
                                                                              were tested either via logistic regression, for numeric corre-
                                                                              lates or via contingency analyses for dichotomous correlates.)
                                                                              Socially transitioned youths were significantly more likely to
                                                                              be natal female (see above). They tended to be older: 72.7%
                                                                              of females 16 or older had transitioned, compared with 60.1%
                                                                              of those younger than 16; for males the respective figures
                                                                              were 31.2% and 21.3%. They tended to have had gender dys-
                                                                              phoria longer: females who had been gender dysphoric for
                                                                              longer than one year had a 75.5% rate of social transition,
                                                                              compared with 58.6% for those gender dysphoric for one
                                                                              year or less; for males the respective figures were 45.7% and
                                                                              22.6%. They tended to have a history of mental health issues:
                                                                              74.1% of females with both a history of mental health issues
                                                                              and a formal diagnosis had socially transitioned, compared
                                                                              with 57.2% of those with neither; for males the respective
Fig. 3  Parent reports of change in functioning after social transition.      figures were 31.5% and 24.2%. Finally, we examined asso-
1 = much worse; 2 = somewhat worse; 3 = no change; 4 = somewhat
better; 5 = much better
                                                                              ciations between social transition and contact with gender
                                                                              specialists. Of the 1,396 parents who answered the relevant
                                                                              question, 37.8% (527) had received a referral to a gender
1.5-point decrease compared with fathers’ 0.9-point decrease,                 specialist and 52.3% (737) had not. (The remaining 9.5%
paired t(891) = 10.4, p < 0.0001, d = 0.4.                                    [132] did not know.) These referrals were associated with
   Parents were asked whether they had felt pressure from a                   a greater chance of social transition: 82.3% of females with
“gender clinic or specialist” to transition their child socially              a referral had socially transitioned compared with 58% of
or medically. Of the 390 parents who answered this ques-                      other females; the respective figures for males were 44.3%
tion, 51.8% (N = 202) answered “yes,” 23.6% (N = 92) were                     and 21.1%. The table also contains multivariate tests for the
unsure, and 24.6% (N = 96) said “no.” Treating this item as                   association between each correlate and current social transi-
a 3-point scale (from 1 = “no” to 2 = “unsure” to 3 = “yes”),                 tion, controlling for the other correlates. (These were tested
parents who felt pressured were more likely to believe their                  via multiple logistic regression.) In every case, the direction
children had deteriorated after transition, r(197) = 0.22,                    of associations was identical for univariate and multivariate
p = 0.002.                                                                    analyses, and the predictors remained statistically significant.
                                                                                 Table 8 contains analogous results for having received
Correlates of Social and Medical Transition                                   any hormonal treatment. The pattern of results was similar to
                                                                              that for social transition, with the aforementioned exception
We examined correlates of current social transition (i.e.,                    of natal sex: males were more likely than females to have
contrasting youths who are currently socially transitioned                    received hormonal treatment. Males 16 and older had a 11.4%
with those who have not socially transitioned; these analy-                   rate of hormonal treatment, compared with 0% for those 16 or
ses ignored those who have desisted). Table 7 contains the                    younger; respective figures for females were 14.3% and 0.3%.
results of univariate and multivariate tests for the correlates               Males whose gender dysphoria had persisted longer than one

Table 7  Several potential correlates of social transition
Correlates of social transition      Univariate       Probability,         Multivariate   Probability, multi- Direction (more likely to transition)
                                     test (χ2)        univariate test      test (χ2)      variate test

Natal sex                            172.8             < 0.0001            179.2            < 0.0001           Natal females
Current age                           17.0             < 0.0001             16.3            < 0.0001           Older youths
Years with gender dysphoria           81.2             < 0.0001             10.6            < 0.0001           Longer duration of gender dysphoria
Mental health issues                  38.8             < 0.0001             22.9            < 0.0001           History of mental health issues
Referral to gender specialist         85.8             < 0.0001             83.7            < 0.0001           Referral to gender specialist

Each row presents the χ2 and associated probability values for two tests: the univariate test in which social transition (yes or no) is predicted by
the correlate in the leftmost column, and the multivariate test in which social transition is predicted by the same correlate, statistically adjusting
for the other correlates in the table. Reported χ2 values are for likelihood ratio tests (Ν = 1655)


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year had a 23.8% rate of hormonal treatment, compared with                    Changes in Characteristics of Gender Dysphoric Youths
a 3.0% rate for those with a shorter duration; for females these
figures were 13.6% and 1.3%, respectively. Males with both                    We examined whether any of the following variables have
indicators of mental health issues (see above) had a hormonal                 changed in a consistent manner across the 3 years and
treatment rate of 8.8%, compared with 7.6% for those with                     10 months of data collection for this article: natal sex, age
neither indicator; for females these figures were 8.7% and                    of gender dysphoric youths, years with gender dysphoria,
3.7%. Finally, males who had contact with gender special-                     mental health issues, and social or medical transition status.
ists had a hormonal treatment rate of 12.2%, compared with                    This was done by regressing each variable on the continu-
6.6% for those without such contact; for females these rates                  ous measure of survey completion date. Table 9 shows that
were 10.1% and 4.8%.                                                          most of these variables have shown statistically significant
                                                                              changes. To clarify these changes, we provide separate num-
Possible Social Influences on Gender Dysphoria                                bers for youths reported on prior to 2020 (first cohort) with
and Transition                                                                those reported on in 2020 and 2021 (second cohort). The
                                                                              former was 20.2% male, and the latter 28.3% male. Ages of
Asked whether the youths were friends with others who                         gender dysphoric youths at the time of the survey decreased
“came out as transgender around the same time,” 55.4% of                      from 16.3 to 15.9 years. Estimated age of gender dysphoria
parents (N = 917) said “yes.” That response was significantly                 onset decreased from 14.7 to 14.5 years. Years with gen-
higher regarding natal females (60.9%, N = 760) than natal                    der dysphoria at the time of survey decreased from 1.6 to
males (38.7%, N = 157), χ2(1, N = 1655) = 61.0, p < 0.0001.                   1.4 years. The likelihood of referral to a gender specialist
Among those who answered “yes,” the mean number of                            decreased from 35.3 to 28.9%.
transgender friends was 2.4 (Mdn = 2). Having friends come
out as transgender contemporaneously was significantly
related to the likelihood of social transition, statistically                 Discussion
adjusting for natal sex, χ2(1, N = 1655) = 63.5, p < 0.0001.
Among females, 73.3% with contemporaneous transgender                         Results of our study are generally consistent with other recent
friends had taken steps toward social transition, compared                    research about the current surge of gender dysphoria among
with 54% without such friends; for males, respective figures                  youth with onset during adolescence or young adulthood.
were 39.5% and 21.7%.                                                         Natal females were affected more often than natal males.
   Informants estimated that before developing gender dys-                    Preexisting mental health issues were common, but so was
phoria, their children spent an average of 4.5 h per day “on                  high intelligence. Most youths had changed their pronouns,
the Internet and social media” (Mdn = 5). The estimate for                    and most of these changes were cross-sex rather than gender-
natal males (M = 5.6) was significantly higher than for natal                 neutral. Social transition was far more prevalent than medical
females (M = 4.1), t(1455) = 8.6, p < 0.0001, d = 0.6. This                   transition. There was evidence of immersion both in social
variable (hours per day using the Internet and social media)                  media and in peer groups with other transgender-identifying
was not significantly related to the likelihood of social transi-             youths.
tion, statistically adjusting for natal sex, χ2(1, N = 1457) = 1.0,              Two sex differences are potentially important. These
p = 0.30.                                                                     included the findings that natal males’ gender dysphoria
                                                                              was reported to be 1.9 years later than females’ and that
                                                                              natal males were much less likely than females to have taken
                                                                              steps toward social transition. This difference contrasts with

Table 8  Several potential correlates of hormonal treatment
Correlates of hormonal treatment      Univariate    Probability,      Multivariate Probability,      Direction (more likely to receive treatment)
                                      test (χ2)     univariate test   test (χ2)    multivariate test

Natal sex                               1.6         0.202               1.3              0.250          Natal males
Current age                           252.4         < .0001           139.2            < 0.0001         Older youths
Years with gender dysphoria           120.3         < .0001             2.9              0.090          Longer duration of gender dysphoria
Mental health issues                    8.4         0.004               6.0              0.014          History of mental health issues
Referral to gender specialist          15.2         < .0001            13.5              0.0002         Referral to gender specialist

Each row presents the χ2 and associated probability values for two tests: the univariate test in which social transition (yes or no) is predicted by
the correlate in the leftmost column, and the multivariate test in which social transition is predicted by the same correlate, statistically adjusting
for the other correlates in the table


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Table 9  Changes in reported         Characteristic                        Univariate prob-   Direction (more characteristic of recent youth)
characteristics of gender                                                  ability
dysphoric youth: December
2017–October 2021                    Natal sex                               < 0.0001         Increased likelihood of being male
                                     Current age                               0.0007         Younger
                                     Age of onset of gender dysphoria          0.025          Younger onset
                                     Years with gender dysphoria               0.011          Fewer years
                                     Mental health issues                      0.988          No significant change
                                     Referral to gender professional           0.005          Decreased likelihood of referral




findings from a study of clinic-referred gender dysphoric               dysphoric adolescents. However, it is unclear how one might
adolescents in Toronto and Amsterdam, which did not show                recruit a representative sample of parents reporting on their
a sex difference in referral age (Aitken et al., 2015). That            gender dysphoric adolescents. National gender clinics such
study included adolescents regardless of when their gender              as those found in Canada, the Netherlands, the UK, Sweden,
dysphoria began, whereas youths reported on in the present              and Finland may have especially large caseloads. But without
study were believed to have adolescent or young adult onset.            large community epidemiological studies, we cannot know
The current study’s results are consistent with the existence           whether the patients seen at the clinics are representative of
of different causes for gender dysphoria in natal females and           the population of gender dysphoric youth. More than twice
males, at least in some cases. Specifically, one kind of gender         as many parents in our sample reported that they had not
dysphoria, stemming from autogynephilia—a natal male’s                  received a referral for a gender specialist for their children
sexual arousal at the idea of being female—occurs only in               as parents who had received a referral. Thus, it is uncertain
adolescent and post-adolescent natal males and does not                 what proportion of gender dysphoric adolescents like those
appear to have an analogue among natal females (Bailey &                reported on in our study are seen at national clinics. The
Blanchard, 2017). Unfortunately, the survey did not assess              ROGD phenomenon (or more cautiously, the ROGD con-
youths’ sexuality. An alternative potential explanation is that         cept) is so new that nothing is known with much confidence
females begin puberty earlier than males. To the extent that            regarding this population.
pubertal changes contribute to the onset of gender dysphoria,              Second, because parents in our sample were self-selected
earlier onset would be predicted for females (Aitken et al.,            for concern that their children have ROGD, parent reports
2015).                                                                  could be biased and inaccurate. Why would parents be biased
   One statistically robust finding was both disturbing and             to believe in ROGD, and to oppose their children’s gender
seemingly important. Youths with a history of mental health             transition? One hypothesis is that parents with these attitudes
issues were especially likely to have taken steps to socially           are socially conservative and thus “transphobic.” However,
and medically transition. This relationship held even after             the limited research on such parents has shown the opposite
statistically adjusting for likely confounders (e.g., age). The         that such parents tend to be politically progressive and to hold
finding is concerning because youth with mental health                  tolerant attitudes toward sexual and gender minorities (Litt-
issues may be especially likely to lack judgment necessary              man, 2018; Shrier, 2020). Our results also support the view
to make these important, and in the case of medical transition          that parents concerned that their AYA children have ROGD
permanent, decisions. The finding supports the worries of               are not motivated by intolerance or conservative ideology
parents whose preferences differ from their gender dysphoric            (Table 1). The possibility remains that it is parents who reject
children. It is consistent with another finding of this study           the ROGD explanation who are incorrect and thus, biased. At
that parents believed gender clinicians and clinics pressured           present, it is uncertain why some parents believe their chil-
the families toward transition. The finding is particularly             dren have ROGD and oppose their gender transition, while
concerning given that parents tended to rate their children as          other parents reject the ROGD concept and facilitate their
worse off after transition.                                             children’s gender transition. It is possible, of course, that the
                                                                        ROGD hypothesis and the alternative hypothesis are both
Limitations                                                             correct in certain cases, leading their parents to form different
                                                                        beliefs and attitudes.
At least two related issues potentially limit this research. First,        Assuming for now that parents in our study were apt to
parents were recruited via a website for parents who believe            provide responses biased in favor of ROGD explanations
their children have ROGD, rather than a more conventional               and opposed to transition, which findings are most suspect,
and less problematic form of gender dysphoria. Such parents             and which are least so? Simple ratings averaged over all par-
are unlikely to be representative of all parents with gender            ents are especially likely to be due to bias. For example, the


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finding that parents tended to view their children’s mental                     manuscript, I concluded that its publication is ethically appropriate,
health and parental relationships as worsening after transi-                    consistent with Springer policy.
tion could reflect a biased tendency to associate negative
outcomes with transition. In contrast, findings that depend                     Open Access This article is licensed under a Creative Commons Attri-
                                                                                bution 4.0 International License, which permits use, sharing, adapta-
on comparisons between parents in this study are less likely                    tion, distribution and reproduction in any medium or format, as long
to be due to bias. For example, it is unclear how bias could                    as you give appropriate credit to the original author(s) and the source,
cause parents of natal males to report a later age of onset for                 provide a link to the Creative Commons licence, and indicate if changes
their children’s gender dysphoria compared with parents of                      were made. The images or other third party material in this article are
                                                                                included in the article's Creative Commons licence, unless indicated
natal females. Nor is it clear how bias could cause parents                     otherwise in a credit line to the material. If material is not included in
to report a higher rate of transition steps among youth with                    the article's Creative Commons licence and your intended use is not
mental health issues compared with other youth.                                 permitted by statutory regulation or exceeds the permitted use, you will
                                                                                need to obtain permission directly from the copyright holder. To view a
                                                                                copy of this licence, visit http://​creat​iveco​mmons.​org/​licen​ses/​by/4.​0/.
Future Directions

Our study relies on information provided by parents who
believe their children have ROGD and are thus unlikely to be                    References
supportive about their children’s transgender status and inten-
tions to transition. Obviously, it would be highly desirable for                4thwavenow. (n.d.). https://​4thwa​venow.​com/​about/ Retrieved Septem-
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future studies also to include parents with differing beliefs                   Achenbach, T. M., McConaughy, S. H., & Howell, C. T. (1987). Child/
and attitudes. Furthermore, responses from gender dys-                               adolescent behavioral and emotional problems: Implications of
phoric adolescents and young adults, themselves, would be                            cross-informant correlations for situational specificity. Psychologi-
extremely important. None of these informants is guaranteed                          cal Bulletin, 101(2), 213–232.
                                                                                Aitken, M., Steensma, T. D., Blanchard, R., VanderLaan, D. P., Wood,
to provide accurate information. But examining the extent                            H., Fuentes, A., ... Zucker, K. J. (2015). Evidence for an altered sex
and domains of their agreement versus disagreement will be                           ratio in clinic-referred adolescents with gender dysphoria. Journal
crucial to addressing the ongoing controversies concerning                           of Sexual Medicine, 12(3), 756–763.
ROGD and the “epidemic” of adolescent gender dysphoria.                         Allen, C. (2015). The transgender triumph. Weekly Standard. Retrieved
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Longitudinal data will be especially valuable, because all                           gender-​trium​ph/.
stakeholders in this controversy ultimately have the same                       Arnoldussen, M., Steensma, T. D., Popma, A., van der Miesen, A. I.,
goal: the long-term happiness of gender dysphoric youth.                             Twisk, J. W., & de Vries, A. L. (2020). Re-evaluation of the Dutch
                                                                                     approach: Are recently referred transgender youth different com-
Supplementary Information The online version contains supplemen-                     pared to earlier referrals? European Child and Adolescent Psy-
tary material available at https://​doi.​org/​10.​1007/​s10508-​023-​02576-9.        chiatry, 29, 803–811.
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role in the study itself, including the method of participant recruitment,           thing. 4thWaveNow. https://​4thwa​venow.​com/​2017/​12/​07/​gender-​
the analysis of the data, and our interpretation/discussion of the results.          dysph​oria-​is-​not-​one-​thing/ Retrieved September 9, 2021.
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Availability of Data and Materials These data are available upon reason-             Research Team. (2022). Do clinical data from transgender adoles-
able request. A copy of the survey instrument is available to those who              cents support the phenomenon of “rapid onset gender dysphoria?
contact the corresponding author.                                                    Journal of Pediatrics, 243, 224–227.
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Code Availability Not applicable.                                                    trends in clinical work with gender diverse children and adoles-
                                                                                     cents. Clinical Child Psychology and Psychiatry, 24(2), 353–364.
Declarations                                                                    Kay, J. (2019). An interview with Lisa Littman, who coined the term
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Conflict of Interest None to declare.                                                2019/​03/​19/​an-​inter​view-​with-​lisa-​littm​an-​who-​coined-​the-​term-​
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